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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

STATE OF TEXAS, et al.,

         Plaintiffs,

v.                                                              No. 5:22-CV-185-H
XAVIER BECERRA, Secretary of Health
and Human Services, et al.,

         Defendants.
                       ORDER REQUIRING JURISDICTIONAL BRIEFING
        Before the Court are the Defendants’ Motion for Clarification (Dkt. No. 86), the

Plaintiffs’ Response (Dkt. No. 91), and the Defendants’ Reply (Dkt. No. 92). During the

Court’s consideration of the motion, the defendants filed a Notice of Appeal (Dkt. No. 94)

to challenge the Court’s Memorandum Opinion and Order granting a preliminary

injunction (Dkt. No. 73).

        Ordinarily, “[t]he filing of a notice of appeal is an event of jurisdictional

significance—it confers jurisdiction on the court of appeals and divests the district court of

its control over those aspects of the case involved in the appeal.” Griggs v. Provident

Consumer Disc. Co., 459 U.S. 56, 58 (1982); see also Coastal Corp. v. Tex. E. Corp., 869 F.2d

817, 820 (5th Cir. 1989) (holding that “the powers of the district court over an injunction

pending appeal” are limited to “maintaining the status quo”); Providence Title Co. v. Truly

Title, Inc., No. 4:21-CV-147-SDJ, 2021 WL 5003273, at *5 (E.D. Tex. Oct. 28, 2021)

(Jordan, J.) (concluding that the court lacked jurisdiction to vacate or modify a preliminary

injunction pending appeal).

        At the same time, Federal Rule of Appellate Procedure 4 prevents a notice of appeal

from taking effect until certain post-judgment motions are resolved by the district court.
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Fed. R. App. P. 4(a)(4)(B)(i); see also Fed. R. Civ. P. 54(a) (defining “judgment” to include

“any order from which an appeal lies”); Birdsong v. Wrotenbery, 901 F.2d 1270, 1272 (5th

Cir. 1990) (treating a motion to clarify an injunction as a Rule 59(e) motion); Coventry Cap.

US LLC v. EEA Life Settlements, Inc., 357 F. Supp. 3d 294 (S.D.N.Y. 2019).

        The parties are ordered to brief whether the Court has jurisdiction to resolve the

motion. The parties’ briefs shall be submitted simultaneously at 3:00 PM on November 10,

2022.

        So ordered on October 28, 2022.


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                                            JAMES WESLEY HENDRIX
                                            UNITED STATES DISTRICT JUDGE




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